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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


In the Matter of the Federal Bureau of Prisons’
Execution Protocol Cases,

LEAD CASE: Roane et al. v. Barr                             Case No. 19-mc-0145 (TSC)

THIS DOCUMENT RELATES TO:

Nelson v. Barr, et al., 20-cv-557


                                     [PROPOSED] ORDER

       Upon consideration of the parties’ submissions in connection with Plaintiff Keith

Nelson’s Emergency Cross-Motion for Summary Judgment on FDCA Causes of Action, it is

hereby ORDERED that the Motion is GRANTED, and it is further ORDERED that: (a) the

2019 Execution Protocol and, in particular, Defendants’ use of pentobarbital as its execution

drug, violates the Food, Drug, and Cosmetic Act, 21 U.S.C. § 301 et seq. (“FDCA”) and is

therefore an agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise not

in accordance with law” under 5 U.S.C § 706(2)(A) of the Administrative Procedure Act

(“APA”); (b) the 2019 Execution Protocol is unlawful and is set aside in accordance with the

APA; and (c) Defendants are enjoined from executing Mr. Nelson using pentobarbital not

subject to a prescription or otherwise in violation of the FDCA.

Dated: August __, 2020

                                                    U.S. District Judge




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